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                                                                                         2019 Apr-29 PM 04:25
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

BUFORD LEE BURKS,                          )
                                           )
              Plaintiff,                   )
                                           )
v.                                         )             Case No. 2:18-cv-01891-TMP
                                           )
DR. ANTHONY GARDNER,                       )
et al.,                                    )
                                           )
              Defendants.                  )

                             MEMORANDUM OPINION

       This matter is before the court on the motions to dismiss Plaintiff Buford

Burks’s (“Plaintiff” or “Burks”) “Expanded Complaint,” filed by defendants

Anthony Gardner (“Gardner”), Tommie Campbell, Anne P. Luke, Daisybelle

Thomas-Quinney, Julene Delaine, Toby Fitch, and Johnny Patrick (collectively

“Defendants”) on February 19, 2019. (Docs. 16, 18). Plaintiff was given an

opportunity to respond, but to date, no response has been filed.

       Defendants are all employees or board members of the Sumter County

Board of Education. 1 They jointly argue that all claims against them arising from

the termination of Plaintiff’s employment are due to be dismissed. The parties have

1
  Although the plaintiff has identified Dr. Gardner as the superintendent of the Sumter County
Board of Education and the other individual defendants as chairman and members of the Sumter
County Board of Education, it does not appear that he has named the Sumter County Board of
Education, as corporate entity, as a defendant.
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consented to the exercise of dispositive jurisdiction by a United States Magistrate

Judge in accordance with 28 U.S.C. § 636. (Doc. 21). The court has considered

all of the arguments and enters the following memorandum opinion.

Procedural History and Facts

      Buford Burks filed his initial complaint on November 15, 2018. (Doc. 1).

He alleged several violations of law stemming from his termination by the Sumter

County Board of Education on October, 16, 2018. Defendants filed a motion for

more definite statement on January 10, 2019, alleging that Plaintiff’s complaint did

not contain a short, plain statement of the facts giving rise to his claims. (Doc. 8).

The court convened a hearing on January 25, 2019. (Docs. 10, 13). At that

hearing the court explained the pleading requirements to the pro se plaintiff in

great detail and ordered him to file an amended complaint.

      Plaintiff filed an amended complaint (titled “Expanded Complaint”) on

February 4, 2019. Burks alleged that his termination by the Board violated his

rights under the Americans with Disabilities Act, the Family Medical Leave Act,

and the Employee Retirement Income Security Act because he was seeking

treatment at the Tuscaloosa VA Hospital for a mental disability at the time of his

termination. He further alleged that he had sick days that he was entitled to use for

his absence from work. Burks also alleged that the Board entered into a contract

with him to provide full pay and benefits for 75 days after voting to terminate him
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but failed to do so, constituting a breach of contract. Finally, Burks alleged that he

was denied substantive and procedural due process rights secured by the

Fourteenth Amendment of the Constitution. The defendants filed the pending

motions to dismiss on February 19, 2019. Gardner filed a motion to dismiss by

himself and also joined in a motion to dismiss filed with all of the other

defendants.

Standard of Review

      On a motion to dismiss, the court must accept as true all of the facts alleged

in the complaint. Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949-51, 173

L. Ed. 2d 868 (2009). Federal Rule of Civil Procedure 8(a) requires only a “short

and plain statement of the claim showing that the pleader is entitled to relief.”

Liberal notice pleading standards embodied in Rule 8(a) “do not require that a

plaintiff specifically plead every element of a cause of action,” Roe v. Aware

Woman Ctr. For Choice, Inc., 253 F.3d 678, 683 (11th Cir. 2001), or set out in

precise detail the specific facts upon which she bases her claim. The complaint

must only “contain either direct or inferential allegations respecting all the material

elements necessary to sustain a recovery under some viable legal theory.” Id.

(quoting In re Plywood Antitrust Litigation, 655 F.2d 627, 641 (5th Cir. Unit A

Sept. 8, 1981)). The Supreme Court raised the threshold for a sufficient pleading

in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1965
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(2007) (rejecting the standard from Conley v. Gibson, 355 U.S. 41, 78 S. Ct. 99, 2

L. Ed. 2d 80 (1957), that any “conceivable” set of facts supporting relief is

sufficient to withstand a motion to dismiss). The threshold of plausibility is met

where the plaintiff “pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009).

To withstand scrutiny under Rule 12(b)(6) a plaintiff must plead “enough facts to

state a claim to relief that is plausible on its face,” and that will thus “nudge [his]

claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

This requires “more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555. The

Eleventh Circuit Court of Appeals has explained that the principles set forth in

Twombly and Iqbal require the complaint to set forth sufficient facts to “raise a

right to relief above the speculative level.” Speaker v. U.S. Dep’t of Health and

Human Servs. Centers for Disease Control and Prevention, 623 F.3d 1371, 1380

(11th Cir. 2010).

      Because the plaintiff is pro se, the court also is required to liberally construe

his pleading. See Alba v. Montford, 517 F.3d 1249, 1252 (11th Cir. 2008). This

creates an obvious tension with the Twombly/Iqbal pleading standard, a tension the

district courts have struggled with. While pro se pleaders are given a liberal
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reading, they still must comply with the rules of procedure. Albra v. Advan, Inc.,

490 F.3d 826, 829 (11th Cir. 2007). This means that, at the least, the pro se

pleading must allege facts that “raise a right to relief above the speculative level.”

Smith v. Murphy, No. 2:16-CV-01251-MHH-TMP, 2016 WL 7974660, at *1

(N.D. Ala. Nov. 1, 2016), report and recommendation adopted, No. 2:16-CV-

01251-MHH-TMP, 2017 WL 345571 (N.D. Ala. Jan. 24, 2017) (quoting Saunders

v. Duke, 766 F.3d 1262, 1266 (11th Cir. 2014) (internal quotation marks omitted)).

Discussion

      Plaintiff asserts five claims in his amended complaint: a violation of the

Americans with Disabilities Act, a violation of the Family and Medical Leave Act,

a violation of the Employee Retirement Income and Security Act, a state law

breach of contract, and a violation of his procedural and substantive due process

rights secured by the Fourteenth Amendment. For reasons that will be discussed

under the appropriate subheading, the defendants contend that all of the plaintiff’s

claims against them are due to be dismissed.

      A. Facts Alleged in the Amended Complaint

      The court has assumed to be true the following facts alleged in the amended

complaint and the exhibits annexed to it.

      On July 10, 2018, the Sumter County Board of Education (“SCBE”) voted

and approved hiring the plaintiff as a Language Arts teacher for the 2018-2019
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school year at the Livingston Middle School. This was the first time the plaintiff

had been employed by the SCBE. By August 27, 2018, dealing with rowdy eighth

grade students caused the plaintiff stress, and he sought treatment at the Veterans

Administration Hospital in Tuscaloosa, Alabama.        On that day, he wrote the

following letter to Dr. Anthony Gardner, the superintendent of the Sumter County

schools:


      I am a disabled veteran, and the challenging students at Livingston
      Junior High have made me mentally and physically exhausted. I have
      come close to grabbing them to force them into line and into their
      seats. As a result, Saturday Aug. 25, 2018, I called the VA Mental
      Crisis line, and I am seeking a medical approval to retire effective
      Nov. 16, 2018. I will visit VA Hospital in Tuscaloosa Monday,
      August 27, 2018, to have my vital signs checked and VA Crisis
      Center will contact me next week. I have 59 sick days to use until
      Nov. 16, 2018. I can leave daily lessons, or Kelly Services can allow
      substitute teacher to follow the curriculum. Please have all other
      correspondence after Sept. 20, 2018 including my first check before
      direct deposit starts sent to my home address at 322 8th Terrace West
      Birmingham, Alabama 35204.


In the body of the amended complaint, the plaintiff alleges that, in fact, he had 61

sick days available for use. Although he was not present at the school, he sent

lessons to the principal to cover the days from August 27 to November 13, 2018.

      On September 14, 2018, the plaintiff was notified by letter from Dr. Gardner

that he would recommend the plaintiff’s termination at a meeting of the SCBE

scheduled for October 16, 2018. The letter informed the plaintiff that he had the
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right to submit a written statement as to why he should not be terminated. On

September 21, 2018, the plaintiff responded to Dr. Gardner’s letter with the

following:


         In reference to your letter dated Sept. 14, 2018, I ask that you and the
         board accept my resignation effective Nov. 16, 2018 when my 61 sick
         leave days are exhausted. I am a Disabled Veteran, and I was treated
         for mental stress Spring 1981 at Charleston Air Force Base South
         Carolina. The recalcitrant students refusing to follow rules of not
         talking as I taught, walk single-file and orderly in line, and pressure
         from Principal Maye to get them in order had me under such stress I
         nearly placed some in seats and in line. As a result, I felt it best to
         seek treatment from Veteran's Administration Hospital, use sick days,
         and submit my resignation. I have sent Principal Maye a lesson for
         each day through Nov. 16, 2018. Due to the mitigating circumstances
         please2


Apparently on that same day, the plaintiff wrote a second letter to Dr. Gardner, as

follows:

         This is a follow up to the statement dated today for members of the
         school board and you requesting you recommend acceptance of my
         resignation as English teacher at Livingston Junior High effective
         Nov. 16, 2018 due to mental stress rather than recommending
         termination. I am a Disabled veteran with a “Service-connected”
         disability, and I am still in treatment at veteran’s [sic] Administration
         Hospital with an appointment next on Oct. 26, 2018.


         At the meeting of the SCBE on October 16, the Board voted to accept Dr.

Gardner’s recommendation of termination of the plaintiff’s employment. The

2
    The exhibit submitted with the amended complaint was only this partial letter.
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following day, October 17, 2018, Dr. Gardner sent the following letter to the

plaintiff:


       This letter is to notify you that the board voted to approve my
       recommendation to terminate you at its meeting on October 16, 2018.
       This decision is effective immediately. You will continue to receive
       full pay and benefits for 75 calendar days from the date of the board’s
       vote.


By letter dated October 26, 2018, the plaintiff notified Dr. Gardner that his VA

physicians “will be sending me a letter addressed to you recommending I am fit to

return to in-service teaching.” He requested that that information be submitted to

the SCBE “as part of my request for appeal of the Oct. 16, 2018, decision….”

Consistent with the letter, the plaintiff submitted to Dr. Gardner a letter from Dr.

Fortunate Ovbiagele at the VA, stating that the plaintiff was “fit and stable to

resume work.”

       B. Americans with Disabilities Act

       Plaintiff alleges that his termination violated the Americans with Disabilities

Act (“ADA”), 42 U.S.C. 12101 et seq. Defendant Gardner, individually, argues

that the Plaintiff’s ADA claim against him is due to be dismissed because there is

no individual liability under the ADA, which relief is limited to suing the

employer. The Board-member defendants and Gardner also argue that the ADA



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claim against them is due to be dismissed because the plaintiff failed to exhaust his

administrative remedies. 3

       The ADA makes it unlawful for an employer to discriminate against “a

qualified individual on the basis of disability in regard to job application

procedures, the hiring, advancement, or discharge of employees, employee

compensation, job training, and other terms, conditions, and privileges of

employment.” 42 U.S.C. § 12112(a). However, before an employee may bring suit

against his employer, he must first exhaust his administrative remedies by filing a

charge of discrimination with the EEOC and receiving a right to sue letter. See 42

U.S.C. 12117(a); Maynard v. Pneumatic Prods. Corp., 256 F.3d 1259, 1262 (11th

Cir. 2001); Booth v. City of Roswell, 754 F. App'x 834, 836 (11th Cir. 2018).

       Whether the plaintiff intends to sue Dr. Gardner and the other individual

defendants in their personal capacities or intends to sue the SCBE, his ADA claim

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    Lurking in this case is the distinction between suits against defendants in their personal
capacity and suits against them in their official capacity. It is not clear whether this pro se
plaintiff is attempting to sue Dr. Gardner and the Board members individually or only in their
official capacities as “Superintendent” and “Board Member.” To the extent the plaintiff is suing
them as individuals, none of them is a “covered entity” for purposes of ADA liability, and they
are entitled to dismissal of the claim on that basis alone. The SCBE, as the employer, is the
covered entity. See 42 U.S.C. § 1211(2) (“The term ‘covered entity’ means an employer,
employment agency, labor organization, or joint labor-management committee.”). However, if
the plaintiff is suing them in their official capacities, he is effectively suing the SCBE. Suits
against defendants in their official capacities are another way of suing the agency for which the
official defendant works. See Kentucky v. Graham, 473 U.S. 159, 165–66, 105 S. Ct. 3099, 3105,
87 L. Ed. 2d 114 (1985) (citing Monell v. New York City Dept. of Social Services, 436 U.S. 658,
690, n. 55, 98 S. Ct. 2018, 2035, n. 55, 56 L. Ed. 2d 611 1978)). In either event, the failure of
the plaintiff to exhaust his administrative remedies before the Equal Employment Opportunity
Commission is dispositive.
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is due to be dismissed as unexhausted because he has neither pleaded facts nor

provided the court with any documentation or exhibits to suggest that he filed an

EEOC charge within 180 days of his termination. Plaintiff was terminated on

October 16, 2018. To have been timely filed, the plaintiff would have had to file

an EEOC charge on or before April 14, 2019.         Notwithstanding the fact the

defendants’ motions to dismiss put the plaintiff on notice of the requirement no

later than February 19, 2019, a time at which he still could have filed a charge of

discrimination, there is no allegation or indication that he has done so. Now, the

time has expired. Plaintiff has not alleged that he filed an EEOC charge. Plaintiff

has similarly not provided copies of his EEOC charge or Right to Sue letter from

the EEOC. Accordingly, the plaintiff’s claims under the ADA are due to be

dismissed as unexhausted.




      A. The Family and Medical Leave Act

      Plaintiff asserts that his termination by the Sumter County Board of

Education violated his rights under the Family and Medical Leave Act (“FMLA”),

29 U.S.C. § 2601, et seq. Plaintiff alleges that he had 61 sick days to use at the

time of his termination and that he was not allowed to use those days. The



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defendants have argued that the claims against them under the FMLA should be

dismissed because Burks was not an “eligible employee” under the statute.

       The FMLA is a remedial statute intended to eliminate gender-based

discrimination by “creating an across-the-board, routine employment benefit for all

eligible employees.” Nevada Dept. of Human Resources v. Hibbs, 538 U.S. 721,

734-7, 123 S. Ct. 1972, 1555 L. Ed. 2d. 953 (2003). It permits eligible employees

to take up to twelve weeks of leave to care for themselves, a spouse, a parent, or a

child facing a serious health condition.          Id. at 724; 29 U.S.C. § 2612(a)(1).

Interference with or retaliation against an employee’s efforts to use the benefit is

actionable against the “employer.” 29 U.S.C. § 2615(a)(1) and (2).4 However, the

statute limits the eligibility of employees. In order to be an “eligible employee”

under the Act an employee must have worked for his or her employer for at least

twelve months and have worked over 1,250 hours in the last year. 29 U.S.C.

§ 2611(2)(A).     The right to leave under FMLA is provided only to eligible

employees. Walker v. Elmore County Board of Educ., 379 F.3d 1249, 1253 (11th

Cir. 2004) (citing 29 U.S.C. § 2612).




4
   Once again, as noted above, the “employer” was the Sumter County Board of Education
(“SCBE”), not the individual superintendent or the individual Board members in their personal
capacities. As individual defendants, sued in their personal capacities, they are entitled to
dismissal on this basis as well.
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       Whether the plaintiff intends to sue the defendants in their personal

capacities or merely as official proxies for the SCBE, his claim must fail as a

matter of law because he was not an eligible employee under the statute and,

therefore, was not entitled to leave under the Act. Plaintiff states that he was hired

on July 10, 2018, by the Sumter County Board of Education. He worked until

August 27, 2018, when he took leave for treatment at the Tuscaloosa Veterans

Administration Hospital. He was then terminated on October 16, 2018. Plaintiff

had worked for the Sumter County Board of Education for 1 month and 17 days

when he started his leave and for 3 months and 6 days at the time he was

terminated. The facts alleged by the plaintiff indicate that at no time during his

employment was the plaintiff a qualified individual entitled to leave under the

FMLA. Accordingly, plaintiff’s claims brought pursuant to the FMLA are due to

be dismissed.



       B. Employee Retirement Income and Security Act 5




5
   The complaint is unclear whether the defendants are sued in their individual or official
capacities. However, the Eleventh Circuit has stated that “the proper party in an action
concerning ERISA benefits is the party that controls the administration of the plan. Garren v.
John Hancock Mut. Life Ins. Co., 114 F.3d 186, 187 (11th Cir. 1997). Here there is no evidence
that the board members or Superintendent Gardner controls the administration of the plan in their
individual capacity, and the court cannot conceive of a set of facts under which this would be
true. The proper party would be the SCBE itself.
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       Burks alleges that his termination by the Board violated the Employee

Retirement Income and Security Act (“ERISA”), 29 U.S.C. § 1001 et seq., because

he was not able to use his 61 days of sick leave and he was promised at the time of

his termination 75 days of pay and benefits 6 that he never received. Dr. Gardner

argues that the claims against him should be dismissed because he is not subject to

liability because he was not the administrator of the ERISA plan. He also joined

the Board members in their arguments. Collectively, the defendants argue that the

claims against them in their official capacities are due to be dismissed because a

suit against them in that capacity is no different than a suit against the state.

Although not entirely clear, they essentially argue that the ERISA claim is barred

by Eleventh Amendment immunity.


6
    Severance pay can be a form of ERISA benefit. See 29 U.S.C. § 1002(1)(B); Fort Halifax
Packing Co. v. Coyne, 482 U.S. 1, 7, 107 S. Ct. 2211, 2215, 96 L. Ed. 2d 1 (1987) (“severance
benefits are included in ERISA.”). If the employer has a “plan” setting criteria for employees to
receive severance pay, it is an ERISA plan. See Gilbert v. Burlington Indus., Inc., 765 F.2d 320,
325 (2d Cir. 1985), aff'd sub nom. Roberts v. Burlington Indus., Inc., 477 U.S. 901, 106 S. Ct.
3267, 91 L. Ed. 2d 558 (1986), and aff'd, 477 U.S. 901, 106 S. Ct. 3267, 91 L. Ed. 2d 558 (1986)
(“severance pay is an unemployment benefit and an unfunded severance pay policy constitutes
an ‘employee welfare benefit plan’ under § 1002(1)(A).”). Likewise, paid “sick days” are an
ERISA benefit. What is unclear, however, whether the SCBE had a “plan” setting criteria and
eligibility for receiving these benefits. ERISA regulates employee welfare-benefit “plans,” not
simply benefits. See Emery v. Bay Capital Corp., 354 F. Supp. 2d 589, 592 (D. Md. 2005)
(citing Fort Halifax, supra). Because the pro se plaintiff’s pleading is due to be liberally
construed, however, the court will assume the plaintiff alleges the existence of such a plan or
plans by inference from the offer to pay him severance in the absence of anything to the contrary
from the defendants.




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      An assertion of Eleventh Amendment immunity challenges the subject

matter jurisdiction of the court and is treated as a motion filed pursuant to Federal

Rule of Civil Procedure 12(b)(1). See Black v. Wigington, 811 F.3d 1259, 1270

(11th Cir. 2016) (“Sovereign immunity is a question of jurisdiction. . . .”); see also

Gordon v. Bentley, No. 7:15-cv-02282-LSC, 2016 WL 4379537, at *1 (N.D. Ala.

Aug. 17, 2016) (“The issue of whether a defendant is entitled to Eleventh

Amendment immunity is a threshold question of jurisdiction.”). Where the entity

asserting the immunity is an “arm of the state” and there has been no waiver or

express abrogation of the immunity, the Eleventh Amendment serves as a

jurisdictional bar to suit.   See Gordon, 2016 WL 4379537, at *1-2.           Recent

Eleventh Circuit authority, however, has rejected the argument that local school

boards are an “arm of the state,” entitled to claim Eleventh Amendment immunity.

See Walker v. Jefferson County Board of Educ., 771 F.3d 748 (11th Cir. 2014)

      In Walker, the court of appeals reviewed the consolidated appeals in two

cases asserting federal statutory claims against local school boards. The court held

clearly that local boards of education are not “arms of the state” entitled to invoke

Eleventh Amendment immunity. It began the decision saying:


      In these consolidated appeals—Walker and Weaver—the Jefferson
      County Board of Education and the Madison City Board of Education
      ask us to recede from our opinion in Stewart v. Baldwin Cnty. Bd. of
      Educ., 908 F.2d 1499, 1511 (11th Cir. 1990), which held that school
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      boards in Alabama are not arms of the state and therefore not entitled
      to Eleventh Amendment immunity. With the benefit of oral
      argument, we conclude that the Eleventh Amendment ruling in
      Stewart has not been overruled or abrogated, and therefore remains
      binding precedent.


Walker v. Jefferson County Board of Educ., 771 F.3d 748, 750 (11th Cir. 2014).

Quoting also from the decision in Manders v. Lee, 338 F.3d 1304, 1308 (11th Cir.

2003), the Walker court explained:


      “Whether [an entity] is an ‘arm of the [s]tate’ must be assessed in
      light of the particular function in which the [entity] was engaged when
      taking the actions out of which liability is asserted to arise.” Manders,
      338 F.3d at 1308. Both of the cases before us concern employment-
      related decisions (i.e., hiring, assignment, and compensation), and
      under Stewart, 908 F.2d at 1509–11, local school boards in Alabama
      are not arms of the state with respect to such decisions. Accordingly,
      the Jefferson County Board of Education and the Madison City Board
      of Education are not immune under the Eleventh Amendment from
      suits challenging those decisions under federal law.



Walker v. Jefferson County Board of Educ., 771 F.3d 748, 757 (11th Cir. 2014).

In sum, school boards are not an “arm of the State” and are not entitled to Eleventh

Amendment immunity from federal law claims, at least with respect to

employment-related actions. The SCBE, as the plaintiff’s employer, is not entitled

to Eleventh Amendment immunity from the plaintiff’s ERISA claim.




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       As in their official capacities the defendant Board members do not seem to

advance any other argument for dismissal of the ERISA claim against the SCBE

itself, 7 their motion to dismiss the claim is due to be denied at this point.

       C. Due Process Rights

       The plaintiff alleges that he was denied procedural and substantive due

process under the law based on the precedent of Goss v. Lopez, 419 U.S. 565, 573,

95 S. Ct. 729, 42 L. Ed. 2d 725 (1975), when he was terminated by the Board.

Dr. Gardner counters that the plaintiff’s allegations are so deficient that he is

unable to determine what claims are being made or how to defend himself. He

also joins the Board members’ argument that the claims fail to state a claim upon

which relief can be granted, are barred by Eleventh Amendment immunity, 8 and

are barred because the plaintiff failed to exhaust administrative remedies.

       The Fourteenth Amendment protects citizens from deprivation of “life,

liberty, or property” interests without due process of law. Maddox v. Stephens,

727 F.3d 1109, 1118 (11th Cir. 2013). When the deprivation occurs as a result of

actions by a state official, the remedial vehicle is 42 U.S.C. § 1983. Id. The




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    As the Board members themselves note, suing them in their official capacities is simply
another way of naming the entity they represent, that is, the Sumter County Board of Education.
8
   The court has already determined that the SCBE and the defendants in their official capacities
are not an “arm of the State” entitled to Eleventh Amendment immunity.
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protections of the due process clause are two-fold and encompass both a

substantive and procedural component. Id.

       An official may be liable in his or her individual capacity for a violation of a

federal right where a plaintiff can “show that the official, acting under color of

state law, caused the deprivation of a federal right.” Hafer v. Melo, 502 U.S. 21,

25, 112 S. Ct. 358, 111 L. Ed. 2d 301 (1991). However, here the allegations of the

complaint are simply deficient, and the plaintiff fails to state a claim upon which

relief can be granted.9 At the outset, because the plaintiff’s allegations involve only

alleged rights in employment, no fundamental rights are involved.                             “The

substantive component of the Due Process Clause protects those rights that are

‘fundamental,’ that is, rights that are ‘implicit in the concept of ordered liberty,’

Palko v. Connecticut, 302 U.S. 319, 325, 58 S. Ct. 149, 152, 82 L. Ed. 288

(1937).” McKinney v. Pate, 20 F.3d 1550, 1556 (11th Cir. 1994). State-created

rights, such as public employment, are simply not such a fundamental right.

“Hence, remaining largely outside the scope of substantive due process

jurisprudence are tort law, [citation omitted], and public employment law,….” Id.

(citing Bishop v. Wood, 426 U.S. 341, 350, 96 S. Ct. 2074, 2080, 48 L. Ed. 2d 684

9
  The court also believes that requiring Burks to amend his complaint, yet again, would be an
exercise in futility. At the hearing prior to the filing of the plaintiff’s first amended complaint,
the court explained the pleading requirements of Rule 8 and how they applied to all of Burks’s
potential claims in painstaking detail, and as the defendants have pointed out, the court’s
explanation went largely unheeded.
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(1976), and Board of Regents v. Roth, 408 U.S. 564, 577–78, 92 S. Ct. 2701,

2709–10, 33 L.Ed.2d 548 (1972)) (Italics added). Consequently, there can be no

violation of “substantive due process.”

      The case relied on by the plaintiff, Goss v. Lopez, 419 U.S. 565, 573, 95 S.

Ct. 729, 42 L. Ed. 2d 725 (1975), does declare that a “state employee who under

state law, or rules promulgated by state officials, has a legitimate claim of

entitlement to continued employment absent sufficient cause for discharge may

demand the procedural protections of due process.” (Italics added). But even this

claim for procedural due process fails to state a claim because the plaintiff was

accorded constitutionally adequate due process.

      Assuming that the plaintiff had a legitimate claim of entitlement to his

continued employment, at least during the one-year term of his appointment, he

was provided with due process. He was notified a month before he was terminated

that Dr. Gardner would recommend his termination at the Board’s October

meeting, and he was given an opportunity to state in writing why he should not be

terminated. The requirements of procedural due process are not “elaborate.” The

Eleventh Circuit has written that it requires only that “‘[t]he tenured public

employee is entitled to oral or written notice of the charges against him, an

explanation of the employer’s evidence, and an opportunity to present his side of

the story.’” Galbreath v. Hale County, Alabama Comm'n, 754 F. App'x 820, 826–
                                          18
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27 (11th Cir. 2018) (quoting Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532,

545, 105 S. Ct. 1487, 1495, 84 L. Ed. 2d 494 (1985)). In this case, such procedure

was mandated under the Students First Act, Alabama Code § 16-24C-1, et seq.

The plaintiff admits that he received notice in advance that Dr. Gardner would

recommend his termination. He responded to that notice with at least two letters,

saying:


         In reference to your letter dated Sept. 14, 2018, I ask that you and the
         board accept my resignation effective Nov. 16, 2018 when my 61 sick
         leave days are exhausted. I am a Disabled Veteran, and I was treated
         for mental stress Spring 1981 at Charleston Air Force Base South
         Carolina. The recalcitrant students refusing to follow rules of not
         talking as I taught, walk single-file and orderly in line, and pressure
         from Principal Maye to get them in order had me under such stress I
         nearly placed some in seats and in line. As a result, I felt it best to
         seek treatment from Veteran's Administration Hospital, use sick days,
         and submit my resignation. I have sent Principal Maye a lesson for
         each day through Nov. 16, 2018. Due to the mitigating circumstances
         please10


and:

         This is a follow up to the statement dated today for members of the
         school board and you requesting you recommend acceptance of my
         resignation as English teacher at Livingston Junior High effective
         Nov. 16, 2018 due to mental stress rather than recommending
         termination. I am a Disabled veteran with a “Service-connected”
         disability, and I am still in treatment at veteran’s [sic] Administration
         Hospital with an appointment next on Oct. 26, 2018.


10
     The exhibit submitted with the amended complaint was only this partial letter.
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Thus, at the time the Board met and voted to terminate his employment, the

plaintiff was on notice that his termination was proposed and he presented his side

for why he should not be terminated. He received the process that was due him

under the Fourteenth Amendment. His claim for denial of procedural due process

under § 1983 is due to be dismissed.

       D. Breach of Contract

       Plaintiff has also alleged a breach of contract under Alabama state law,

which is before the court on supplemental jurisdiction provided by 28 U.S.C.

§ 1367(a). However, insofar as the plaintiff seeks to sue Dr. Gardner and the

individual Board members in their personal capacities, they are not a party to the

employment contract between the plaintiff and the SCBE. Moreover, to the extent

he seeks to sue them in their official capacities, they are entitled to the same

sovereign immunity from State-law claims provided by Article I, section 14 of the

Alabama Constitution as the Board itself can claim as an “arm of the State.” 11 The

Alabama Supreme Court reaffirmed its view that section 14 of the Alabama

Constitution provides sovereign immunity protection for local boards of education,

even with respect to claims for breach of contract. “Because county boards of
11
    The court acknowledges the apparent contradiction with its earlier holding that the SCBE is
not an “arm of the State” for Eleventh Amendment immunity. The difference, of course, is that
while Alabama state law determines whether an entity is an “arm of the State” for purposes of
claims made under State law, federal law determines whether such an entity is an “arm of the
State” with respect to claims made under federal law.
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education are local agencies of the State, they are clothed in constitutional

immunity from suit….” Ex parte Hale County Board of Educ., 14 So. 3d 844, 848

(Ala. 2009). Accordingly, the breach of contract claim is due to be dismissed as

barred by sovereign immunity under Alabama state law.

Conclusion

      The motions to dismiss are due to be granted as to all of the plaintiff’s

claims except his claim under ERISA against Gardner and the individual board

members in their official capacities.    The plaintiff’s claims under ERISA as

asserted against the defendants in their individual capacities, the FMLA, and the

Fourteenth Amendment Due Process clause, as well as his State-law claim for

breach of contract, are due to be dismissed with prejudice pursuant to Federal Rule

of Civil Procedure 12(b)(1) and 12(b)(6). His ADA claim is due to be dismissed

without prejudice because he has not exhausted his administrative remedies on the

claim. Plaintiff’s ERISA claim against Gardner and the board members in their

official capacities remains pending.

      DONE and ORDERED on April 29, 2019.



                                       _______________________________
                                       T. MICHAEL PUTNAM
                                       UNITED STATES MAGISTRATE JUDGE



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